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 2
   ADAM L. BRAVERMAN
 3 United States Attorney
   Davis M. Loop
 4 Special Assistant United States Attorney
   Florida Bar No. 11605
 5 United States Attorney’s Office
   880 Front Street, Room 6293
 6 San Diego, California 92101-8893
   Telephone: (619) 546-8835
 7 Email: Davis.Loop@usdoj.gov

 8 Attorneys for Plaintiff
   UNITED STATES OF AMERICA
 9

10
                         UNITED STATES DISTRICT COURT
11
                        SOUTHERN DISTRICT OF CALIFORNIA
12
     UNITED STATES OF AMERICA,              Case No.: 18MJ2074-RBB
13
               Plaintiff,
14
                 v.                         NOTICE OF APPEARANCE
15

16   ELVIN LEONEL GUTIERREZ-FLORES,

17            Defendant.
18

19       TO THE CLERK OF COURT AND ALL PARTIES OF RECORD
20       I, the undersigned attorney, enter my appearance as lead counsel
21 for the United States in the above-captioned case.         I certify that I
22 am admitted to practice in this court or authorized to practice under

23 CivLR 83.3.c.3-4.

24       The following government attorneys (who are admitted to practice
25 in this court or authorized to practice under CivLR 83.3.c.3-4) are

26 also associated with this case, should be listed as lead counsel for

27 CM/ECF purposes, and should receive all Notices of Electronic Filings

28 relating to activity in this case:
      Case 3:18-mj-02074-RBB Document 6 Filed 05/02/18 PageID.8 Page 2 of 3



 1            Name

 2            None.

 3      Effective this date, the following attorneys are no longer

 4 associated with this case and should not receive any further Notices

 5 of Electronic Filings relating to activity in this case (if the

 6 generic “U.S. Attorney CR” is still listed as active in this case in

 7 CM/ECF, please terminate this association):

 8            Names

 9            None

10 Please feel free to call me if you have any questions about this

11 notice.

12      DATED: May 2, 2018.

13                                   Respectfully submitted,

14                                   ADAM L. BRAVERMAN
                                     United States Attorney
15
                                     s/ Davis M. Loop
16                                   Davis M. Loop
                                     Special Assistant U.S. Attorney
17                                   Attorneys for Plaintiff
                                     United States of America
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 1                       UNITED STATES DISTRICT COURT

 2                      SOUTHERN DISTRICT OF CALIFORNIA

 3   UNITED STATES OF AMERICA,               Case No.: 18MJ2074-RBB

 4             Plaintiff,

 5                v.                         CERTIFICATE OF SERVICE

 6   ELVIN LEONEL GUTIERREZ-FLORES,
 7              Defendant.
 8

 9
10       IT IS HEREBY CERTIFIED THAT:

11       I, Davis M. Loop, am a citizen of the United States and am at

12 least eighteen years of age. My business address is 880 Front Street,

13 Room 6293, San Diego, CA 92101-8893.

14       I am not a party to the above-entitled action.          I have caused

15 service of the Notice of Appearance as lead counsel for the United

16 States, and this Certificate of Service, on the following parties by

17 electronically filing the foregoing with the Clerk of the U.S.

18 District Court for the Southern District of California using its ECF
19 System, which electronically notifies them:

20     RICHARD J. BOESEN     Attorney for Defendant

21       I declare under penalty of perjury that the foregoing is true

22 and correct.

23       Dated: May 2, 2018.
24
                                     ADAM L. BRAVERMAN
25                                   United States Attorney

26                                   s/ Davis M. Loop
                                     Davis M. Loop
27                                   Special Assistant U.S. Attorney
                                     Attorneys for Plaintiff
28                                   United States of America

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